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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Health Discovery Corporation,

          Plaintiff,                                  Civil Action No. 6:22-cv-00356-ADA

                  v.

 Intel Corporation,                                   JURY TRIAL DEMANDED

          Defendant.


           INTEL CORPORATION’S OPPOSITION TO HEALTH DISCOVERY
            CORPORATION’S REQUEST TO USE PREVIOUS CASE NUMBER

         Defendant Intel Corporation opposes HDC’s request to proceed under the original case

number. HDC made a strategic decision to file a new complaint under a new case number rather

than pursue its noticed appeal of the original case number. It should be held to the consequently

shorter damages period.

         The Court dismissed HDC’s original complaint last December without prejudice, and then

closed the case. Dkt. 66 in 6:20-cv-00666-ADA. Rather than moving to amend its complaint or

asking the court to reconsider its decision, HDC filed a notice of appeal to the Federal

Circuit. Months later, the day before its opening appeal brief was due, HDC moved to dismiss the

appeal and elected to simultaneously file a new complaint. HDC should not get a “do-over” to

effectively amend its complaint in the original action over five months after the Court’s dismissal

order.

         There are consequences to HDC’s decision to file a new complaint rather than amend its

original complaint: it materially changes the damages period. Section 286 only allows damages

six years back from the filing of the complaint, so the filing date matters. 35 U.S.C. §286. HDC




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has not explained its basis for requesting to proceed under the old case number, but it may be an

attempt to effectively convert its new complaint to an amended complaint in order to claim that it

is entitled to its original filing date and the original damages window under the relation-back

doctrine. See Anza Technology, Inc. v. Mushkin, Inc., 934 F.3d 1359, 1370-73 (Fed. Cir. 2019);

Fed. R. Civ. P. 15(c). By contrast, the relation-back doctrine would not apply to the new

complaint. See, e.g., Carter v. Texas Dep’t of Health, 119 F. App’x 577, 581 (5th Cir. 2004) (Rule

15(c)’s relation-back doctrine applies to amended pleadings, not new pleadings); Luckett v. Rent-

A-Center, Inc., 53 F.3d 871, 873 (7th Cir. 1995) (same); Abram-Adams v. Citigroup, Inc., 491 F.

App’x 972, 975 (11th Cir. 2012) (same). HDC’s new complaint shifts the damages window

forward by twenty months and eliminates twenty months from the damages period altogether for

the three asserted patents that have since expired. HDC should not be allowed to attempt to

recapture the portion of the damages window that it gave up when it chose to dismiss its appeal

and file a new complaint.

Dated: June 10, 2022                         PERKINS COIE LLP

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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on June 10, 2022, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.

                                                /s/ Kourtney Mueller Merrill




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